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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-01854-LTB-GPG

  TAYLOR JADE HICKERSON,

         Plaintiff,

  v.

  GREENWAY FLATS,

         Defendant.


                           ORDER DENYING RECONSIDERATION


         This matter was dismissed for lack of subject-matter jurisdiction and failure to

  comply with Rule 8 of the Federal Rules of Civil Procedure on August 13, 2020. (ECF

  Nos. 13, 14). It is now before the Court on the “First Motion to Alter Judgment” filed

  August 14, 2020 (ECF No. 15). The entire body of the filing reads: “MOTION: Release

  of Funds Cannot get in contact with defendants.” (Id.). For the reasons below, the

  motion will be denied.

         A litigant subject to an adverse judgment, and who seeks reconsideration by the

  district court of that adverse judgment, may “file either a motion to alter or amend the

  judgment pursuant to Fed. R. Civ. P. 59(e) or a motion seeking relief from the judgment

  pursuant to Fed. R. Civ. P. 60(b).” Van Skiver v. United States, 952 F.2d 1241, 1243

  (10th Cir. 1991). A motion to alter or amend the judgment must be filed within twenty-

  eight days after the judgment is entered. See Fed. R. Civ. P. 59(e). The Court will

  consider the motion as being made pursuant to Rule 59(e) because it was filed within

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  twenty-eight days after judgment was entered. See Van Skiver, 952 F.2d at 1243

  (stating that motion to reconsider filed within time limit for filing a Rule 59(e) motion

  under prior version of that rule should be construed as a Rule 59(e) motion).

         A Rule 59(e) motion may be granted “to correct manifest errors of law or to

  present newly discovered evidence.” Phelps v. Hamilton, 122 F.3d 1309, 1324 (10th Cir.

  1997) (internal quotation marks omitted). Relief under Rule 59(e) is appropriate when

  “the court has misapprehended the facts, a party’s position, or the controlling law.”

  Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000). A Rule 59(e)

  motion should not revisit issues already addressed or advance arguments that could

  have been raised previously. Id. Plaintiff has not met this standard.

         Nothing in Plaintiff’s motion demonstrates the need to correct a clear error of law,

  a misapprehension of the facts, a party’s position, or that the action should be reinstated

  based on new evidence previously unavailable.

         Accordingly, it is

         ORDERED that the “First Motion to Alter Judgment” (ECF No. 15) is DENIED.

         DATED at Denver, Colorado, this 28th day of           August           , 2020.


                                                     BY THE COURT:

                                                       s/Lewis T. Babcock
                                                     LEWIS T. BABCOCK, Senior Judge
                                                     United States District Court




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